          Case 1:11-cv-00826-LY Document 8 Filed 01/04/12 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

DONNA HEACOCK,                             §
Plaintiff                                  §
                                           §        CIVIL ACTION NO. 1:11-CV-00826-LY
vs.                                        §
                                           §
GLOBAL CREDIT & COLLECTION                 §
CORPORATION DBA TEXAS                      §
GLOBAL CREDIT & COLLECTION                 §
CORPORATION,                               §
Defendant                                  §


                JOINT MOTION TO DISMISS WITH PREJUDICE

TO THE HONORABLE JUDGE OF SAID COURT:

      NOW INTO COURT, the parties to the above captioned action, through their

respective attorneys, herby files this Joint Motion to Dismiss the complaint against

Defendant Global Credit & Collections Corporation d/b/a Texas Global Credit &

Collections Corporation.

                                               I.

      This case has been settled amicably by the parties.
      .
                                           II.

      For these reasons, the parties ask the court to dismiss this suit with prejudice.

                                          Respectfully submitted,

                                          By: /s/ Dennis R. Kurz
                                          Dennis R. Kurz
                                          Attorney for Plaintiff
                                          Texas State Bar # 24068183
                                          WEISBERG & MEYERS, L.L.C.
          Case 1:11-cv-00826-LY Document 8 Filed 01/04/12 Page 2 of 2




                                          Two Allen Center
                                          1200 Smith Street
                                          16th Floor
                                          Houston, TX 77002


                                          By: /s/ Nicolle N. Muehr
                                          Nicolle N. Muehr
                                          Attorney for Defendant
                                          Henslee Schwartz, LLP
                                          816 Congress Avenue
                                          Suite 800
                                          Austin TX 78701



                             CERTIFICATE OF SERVICE


       I certify that on January 4, 2012, I electronically filed the foregoing document
with the clerk of the U.S. District Court, Western District of Texas, Austin Division,
using the electronic case filing system of the court. Notification was sent electronically
via the court’s electronic case filing system to counsel of record for Defendant,
Defendant Global Credit & Collections Corporation d/b/a Texas Global Credit &
Collections Corporation this 4th day of January, 2012 as follows:
nmuehr@hensleeschwartz.com.


                                                                /s/ Dennis R. Kurz
                                                                Dennis R. Kurz
